                 Case 8:20-cv-00048-JVS-JDE Document 1014-16 Filed 11/14/22 Page 1 of 2 Page ID
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             8                          UNITED STATES DISTRICT COURT
                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
             9                               SOUTHERN DIVISION
           10       MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           11       CERCACOR LABORATORIES, INC.,                [PROPOSED] ORDER GRANTING
                    a Delaware corporation,                     APPLE’S MOTION TO STRIKE
           12                                                   PLAINTIFFS’ UNTIMELY
                                       Plaintiffs,              REASONABLE ROYALTY THEORY
           13
                          v.
           14                                                   Date: Dec. 12, 2022
                    APPLE INC.,                                 Time: 1:30 p.m.
           15       a California corporation,                   Expert Discovery Cut-Off: Dec. 12, 2022
           16                          Defendant.               Pre-Trial Conference: Mar. 13, 2023
                                                                Trial: Mar. 27, 2023
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           28       [PROPOSED] ORDER GRANTING APPLE’S MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE
                    ROYALTY THEORY                                         CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1014-16 Filed 11/14/22 Page 2 of 2 Page ID
                                                   #:66154

             1            This matter is before the Court pursuant to Defendant Apple Inc.’s Motion to
             2      Strike Plaintiffs’ Untimely Reasonable Royalty Theory (“Motion”). Having considered
             3      the briefing, supporting documents, and all other matters properly before the Court,
             4      being fully advised on the pleadings, and for good cause appearing:
             5            IT IS HEREBY ORDERED THAT Apple’s Motion is GRANTED and the
             6      highlighted portions of Exhibit 2 are stricken from Mr. Kinrich’s damages report.
             7            IT IS SO ORDERED.
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             9      Dated: __________________
           10                                             The Hon. James V. Selna
                                                          United States District Court Judge
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           28       [PROPOSED] ORDER GRANTING APPLE’S MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE
                    ROYALTY THEORY
Wilmer Cutler
                                                         1                 CASE NO. 8:20-cv-00048-JVS (JDEX)
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